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                                                                            UNITED STATES DISTRICT COURT
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                                                                          NORTHERN DISTRICT OF CALIFORNIA
                                          10
                                                                                     SAN JOSE DIVISION
For the Northern District of California




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                                               APPLE, INC., a California corporation,        )       Case No.: 12-CV-00630-LHK
    United States District Court




                                          12                                                 )
                                          13               Plaintiff and Counterdefendant,   )       ORDER ON VERDICT FORMS
                                                                                             )
                                          14          v.                                     )
                                                                                             )
                                          15   SAMSUNG ELECTRONICS CO., LTD., a              )
                                               Korean corporation; SAMSUNG                   )
                                          16
                                               ELECTRONICS AMERICA, INC., a New York )
                                          17   corporation; and SAMSUNG                      )
                                               TELECOMMUNICATIONS AMERICA, LLC, )
                                          18   a Delaware limited liability company,         )
                                                                                             )
                                          19                Defendants and Counterclaimants. )
                                                                                             )
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                                                      In light of the parties’ statements regarding products and features that are no longer accused
                                          21
                                               of infringing Samsung’s patents (ECF No. 1727-3), the parties shall file updated proposed verdict
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                                               forms with their briefs regarding the verdict forms by 5:00 P.M. on April 21, 2014.
                                          23
                                                      IT IS SO ORDERED.
                                          24
                                               Dated: April 19, 2014                                _________________________________
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                                                                                                    LUCY H. KOH
                                          26                                                        United States District Judge

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                                               Case No.: 12-CV-00630-LHK
                                               ORDER ON VERDICT FORMS
